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                                                           UNITED STATES DISTRICT COURT
                                                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                                     CASE NO: 21-CR-175-TJK
v.

ENRIQUE TARRIO,

                      Defendant.

_______________________________/

                         NOTICE OF APPEARANCE AS COUNSEL

       PLEASE TAKE NOTICE that the undersigned attorney, by his signature below, hereby

enters his appearance on behalf of the Defendant, Enrique Tarrio, for trial purposes, in the above-

styled cause and as such, requests that the Clerk of Court forward any and all notices to the

address below.

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

noticed through the CM/ECF system to the US Attorney’s Office Erik Kenerson, Luke Jones,

and Jason McCollough on this 4th day of April, 2022.



                                             Respectfully submitted,

                                             /s/ Nayib Hassan
                                             _____________________________
                                             Nayib Hassan, Esq., (Fla Bar No. 20949)
                                             Attorney for Defendant
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